      Case 1:18-cv-02433-CKK Document 36 Filed 09/13/22 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 MAGGIE LEWIS-BUTLER,
             Plaintiff
        v.                                          Civil Action No. 18cv2433 (CKK)
 UNITED STATES,
             Defendant


                                        ORDER
                                  (September 13, 2022)
       In their [33], [35] Status Reports, the parties indicated their consent to mediation.

Accordingly, it is this 13th day of September, 2022, hereby

       ORDERED that this case is randomly referred to a Magistrate Judge for mediation

from September 13, 2022, through November 14, 2022. Counsel and parties, including

persons with settlement authority, shall attend mediation.

   SO ORDERED.

                                                          /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
